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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DOROTHY NAIRNE, et al.,

                        Plaintiffs,

                        v.
                                                          Case No. 3:22-cv-178-SDD-SDJ
 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana,

                        Defendant.


                                      [PROPOSED] ORDER

       Upon consideration of the United States’ Motion for Leave to Appear by

Videoconference, ECF No. ____, the Motion is hereby GRANTED. The United States may

appear by videoconference at the February 21, 2024, scheduling conference in the above-

captioned case. Participant instructions will be sent separately by email.

       IT IS SO ORDERED.

       Signed in Baton Rouge, Louisiana, on ______________, 2024.




                                                     ________________________
                                                     Judge Shelly D. Dick
                                                     United States District Court
                                                     Middle District of Louisiana.
